    Case 21-03067-sgj Doc 67 Filed 10/22/21                 Entered 10/22/21 15:58:04             Page 1 of 5


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                        §
                                                                  §    Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                  §    Case No. 19-34054-sgj11
                                      Reorganized Debtor.         §
                                                                  §
    CHARITABLE DAF FUND, L.P., AND CLO                            §
    HOLDCO, LTD., DIRECTLY AND                                    §
    DERIVATELY,                                                   §
                                                                  §
                                      Plaintiffs,                 §    Adversary Proceeding No.
                                                                  §
    vs.                                                           §    21-03067-sgj
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
    HIGHLAND HCF ADVISOR, LTD., AND                               §
    HIGHLAND CLO FUNDING LTD.,                                    §
    NOMINALLY,                                                    §
                                                                  §
                                      Defendants.                 §

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On October 19, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •       Notice of Hearing [Docket No. 66]


Dated: October 22, 2021
                                                         /s/ Esmeralda Aguayo
                                                         Esmeralda Aguayo
                                                         KCC
                                                         222 N Pacific Coast Highway, Suite 300
                                                         El Segundo, CA 90245


1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
Case 21-03067-sgj Doc 67 Filed 10/22/21   Entered 10/22/21 15:58:04   Page 2 of 5



                             EXHIBIT A
           Case 21-03067-sgj Doc 67 Filed 10/22/21                        Entered 10/22/21 15:58:04             Page 3 of 5
                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


             Description                    CreditorName                  CreditorNoticeName                       Email
 Financial Advisor to Official                                       Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors    FTI Consulting                  O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                     Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
 Counsel for the Debtor              Hayward & Associates PLLC       Z. Annable                    ZAnnable@HaywardFirm.com
 Counsel for Highland CLO Funding
 Ltd.                                King & Spalding LLP             Paul R. Bessette             pbessette@kslaw.com
                                                                                                  rpachulski@pszjlaw.com;
                                                                                                  jpomerantz@pszjlaw.com;
                                                                   Richard M. Pachulski, Jeffrey ikharasch@pszjlaw.com;
                                                                   N. Pomerantz, Ira D. Kharasch, joneill@pszjlaw.com;
                                                                   James E. O’Neill, Robert J.    rfeinstein@pszjlaw.com;
                                     Pachulski Stang Ziehl & Jones Feinstein, John A. Morris,     jmorris@pszjlaw.com;
 Counsel for the Debtor              LLP                           Gregory V. Demo                gdemo@pszjlaw.com
                                                                                                  rfeinstein@pszjlaw.com;
                                     Pachulski Stang Ziehl & Jones Robert Joel Feinstein, Hayley hwinograd@pszjlaw.com;
 Counsel for the Debtor              LLP                           R. Winograd, Judith Elkin      jelkin@pszjlaw.com
 Counsel for CLO Holdco, Ltd. and                                  Mazin A Sbaiti, Jonathan       MAS@SbaitiLaw.com;
 Charitable DAF Fund, L.P.           Sbaiti & Company PLLC         Bridges                        jeb@sbaitilaw.com
                                                                                                  mclemente@sidley.com;
                                                                   Matthew Clemente, Alyssa       alyssa.russell@sidley.com;
 Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,   ebromagen@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey               dtwomey@sidley.com
                                                                                                  preid@sidley.com;
                                                                   Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes             crognes@sidley.com




Highland Capital Management, L.P.
Case No. 19-34054                                                 Page 1 of 1
Case 21-03067-sgj Doc 67 Filed 10/22/21   Entered 10/22/21 15:58:04   Page 4 of 5



                             EXHIBIT B
                                    Case 21-03067-sgj Doc 67 Filed 10/22/21                        Entered 10/22/21 15:58:04         Page 5 of 5
                                                                                           Exhibit B
                                                                                    Adversary Service List
                                                                                   Served via First Class Mail


            Description                   CreditorName             CreditorNoticeName                Address1             Address2   Address3     City   State      Zip       Country
  Counsel for Highland CLO
  Funding Ltd.                      Brobeck Phleger & Harrison   Jonathan W. Jordan          4801 Plaza on the Lake                             Austin TX        78746
                                                                 c/o Intertrust Corporate                                                       Grand                         Cayman
  Affected Party                    Charitable DAF Fund, LP      Services                    Caymana Bay Suite 3211    George Town              Cayman                        Islands
  Counsel for Highland CLO                                                                   500 West 2nd St., Suite
  Funding Ltd.                      King & Spalding LLP          Paul R. Bessette            1800                                               Austin   TX      78701-4684
  Counsel for CLO Holdco, Ltd.                                   Mazin A Sbaiti, Jonathan                                             Suite
  and Charitable DAF Fund, L.P.     Sbaiti & Company PLLC        Bridges                     J.P. Morgan Chase Tower 2200 Ross Avenue 4900W     Dallas   TX      75201




Highland Capital Management, L.P.
Case No. 19-34054                                                                           Page 1 of 1
